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                   IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

UNITED STATES OF AMERICA                  §
                                          §
V.                                        §
                                          §      No. 3:20-cr-41-B
HECTOR PABLO CABRERA,                     §
                                          §
              Defendant.                  §

           MEMORANDUM OPINION AND ORDER OF DETENTION

        In an Order Accepting Report and Recommendation of the United States

Magistrate Judge Concerning Plea of Guilty, dated October 25, 2021, United States

District Judge Jane J. Boyle has referred this matter to the undersigned United

States magistrate judge for a hearing to determine whether it has been clearly shown

that there are exceptional circumstances under 18 U.S.C. § 3145(c) why Defendant

Hector Pablo Cabrera should not be detained under 18 U.S.C. § 3143(a)(2) and

whether it has been shown by clear and convincing evidence that Defendant Hector

Pablo Cabrera is not likely to flee or pose a danger to any other person or the

community if released under 18 U.S.C. § 3142(b) or (c). See Dkt. No. 42.

                                   Background


        Defendant is set for sentencing before Judge Boyle on January 13, 2022. See

Dkt. No. 41. A[W]hether a defendant should be released pending trial and whether a

defendant should be released pending sentencing or appeal are distinct inquiries




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governed by different provisions of the Bail Reform Act.@ United States v. Lee, 31 F.

App=x 151, No. 01-30876, 2001 WL 1747632, at *1 (5th Cir. Dec. 4, 2001).


      AThe provisions of 18 U.S.C. ' 3143 govern release pending sentencing or

appeal.@ FED. R. CRIM. P. 46(c). 18 U.S.C. ' 3143(a)(2) dictates that the Court Ashall

order that a person who has been found guilty of an offense in a case described in

subparagraph (A), (B), or (C) of subsection (f)(1) of section 3142 and is awaiting

imposition or execution of sentence be detained unless – (A)(i) the judicial officer finds

there is a substantial likelihood that a motion for acquittal or new trial will be

granted; or (ii) an attorney for the Government has recommended that no sentence of

imprisonment be imposed on the person; and (B) the judicial officer finds by clear and

convincing evidence that the person is not likely to flee or pose a danger to any other

person or the community.@ 18 U.S.C. ' 3143(a)(2).


      On February 4, 2020, the undersigned United States magistrate judge released

Defendant subject to an Order Setting Conditions of Release. See Dkt. No. 16.


      AThe provisions of 18 U.S.C. ' 3143 govern release pending sentencing or

appeal.@ FED. R. CRIM. P. 46(c). 18 U.S.C. ' 3143(a)(2) dictates that the Court Ashall

order that a person who has been found guilty of an offense in a case described in

subparagraph (A), (B), or (C) of subsection (f)(1) of section 3142 and is awaiting

imposition or execution of sentence be detained unless – (A)(i) the judicial officer finds




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there is a substantial likelihood that a motion for acquittal or new trial will be

granted; or (ii) an attorney for the Government has recommended that no sentence of

imprisonment be imposed on the person; and (B) the judicial officer finds by clear and

convincing evidence that the person is not likely to flee or pose a danger to any other

person or the community.@ 18 U.S.C. ' 3143(a)(2).


      Defendant filed a Motion to Continue the Defendant on Conditions Pretrial

Release Pending Sentencing. See Dkt. No. 49.


      The Court held a hearing on December 2, 2021 on the matters referred by

Judge Boyle, at which Defendant appeared in person and through counsel and the

government=s counsel appeared.


                           Legal Standards and Analysis


      As a preliminary matter, Defendant is subject to mandatory detention under

Section 3143(a)(2) because he has, on a guilty plea, now been adjudged guilty of a

violation of 21 U.S.C. § 841. See Dkt. Nos. 34, 39, & 42. That is Aan offense in a case

described in subparagraph (A) ... of subsection (f)(1) of section 3142,@ specifically, Aan

offense for which a maximum term of imprisonment of ten years or more is prescribed

in the Controlled Substances Act (21 U.S.C. 801 et seq.).@


      Defendant therefore must be detained pursuant to 18 U.S.C. ' 3143(a)(2)

unless he meets the conditions of release set forth in Section 3143(a)(2) or 18 U.S.C.




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' 3145(c). Release of Aa person who has been found guilty of an offense in a case

described in [18 U.S.C. ' 3142(f)(1)(A)] and is awaiting imposition or execution of

sentence@ requires that Athe judicial officer finds by clear and convincing evidence

that the person is not likely to flee or pose a danger to any other person or the

community.@ 18 U.S.C. ' 3143(a)(2)(B); see also United States v. Morrison, 833 F.3d

491, 506 (5th Cir. 2016) (AThe decision to detain Jacqueline after conviction is a

common one because of the presumption in favor of detention that attaches to a

convicted defendant. See 18 U.S.C. ' 3143.@); United States v. Lopez, 504 F. App=x 297,

298 (5th Cir. 2012) (AA defendant who has been convicted >shall ... be detained=

pending sentencing >unless the judicial officer finds by clear and convincing evidence

that the person is not likely to flee or pose a danger to the safety of any other person

or the community if released.= Thus, there is a presumption against release pending

sentencing.@ (footnotes omitted)). As the United States Court of Appeals for the Fifth

Circuit has repeatedly recognized, Federal Rule of Criminal Procedure 46(c) and

Section 3143(a)(1) impose a burden on a convicted defendant seeking release pending

sentencing to show by clear and convincing evidence that she or he is not a flight risk

or a danger to the community. See 18 U.S.C. ' 3143(a)(1); FED. R. CRIM. P. 46(c) (AThe

burden of establishing that the defendant will not flee or pose a danger to any other

person or to the community rests with the defendant.@); United States v. Lockett, 549

F. App=x 269 (mem.), No. 13-11097, 2013 WL 6623771, at *1 (5th Cir. Dec. 17, 2013).




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      Further, Defendant must meet the conditions of release set forth in Section

3143(a)(2)(A) or 3145(c). Defendant cannot, and does not claim that he can, satisfy

the Section 3143(a)(2)(A) showing that there is a substantial likelihood that a motion

for acquittal or new trial will be granted or that an attorney for the government has

recommended that no sentence of imprisonment be imposed on Defendant.


      18 U.S.C. ' 3145(c) provides that A[a] person subject to detention pursuant to

[18 U.S.C. '] 3143(a)(2) or (b)(2), and who meets the conditions of release set forth in

[18 U.S.C. '] 3143(a)(1) or (b)(1), may be ordered released, under appropriate

conditions, by the judicial officer, if it is clearly shown that there are exceptional

reasons why such person=s detention would not be appropriate.@ As reflected in the

Report and Recommendation Concerning Plea of Guilty [Dkt. No. 39], Section 3145(c)

provides an alternative basis for pre-sentencing release under Aexceptional

circumstances,@ so long as Defendant also makes the required showing under Section

3143(a)(1) and 3143(a)(2)(B) – that is, by clear and convincing evidence that

Defendant is not likely to flee or pose a danger to the safety of any other person or

the community if released under 18 U.S.C. ' 3142(b) or 3142(c) pending sentencing.

See United States v. Carr, 947 F.2d 1239, 1240 (5th Cir. 1991).


      The Court finds that Defendant has made the required showing that he is not

likely to flee or pose a danger to the safety of any other person or the community if




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continued on release. As Defendant explains in his Motion to Continue the Defendant

on Conditions Pretrial Release Pending Sentencing, he


      entered a plea of guilty to Count One of the Indictment, violating 21
      U.S.C. §§ 841(a)(1) and (b)(1)(c), on September 28, 2021. At the time of
      his plea of guilty Judge Ramirez, Magistrate Judge, ordered that
      CABRERA remain on current conditions of release and deferred to the
      District Court to determine whether: (1) exceptional circumstances are
      clearly shown under §3145(c) why the defendant should not be detained,
      and (2) to find by clear and convincing evidence that the defendant is
      not likely to flee or pose a danger to the safety of any other person or the
      community. 18 U.S.C. §3145(c).
      ….
      In support of showing exceptional circumstances1 why the defendant
      should not be detained, and to find by clear and convincing evidence that
      the defendant is not likely to flee or pose a danger to the safety of any
      other person or the community, CABRERA offers the following:
      On January 28 ,2020, the Grand Jury returned an indictment for one
      count against CABRERA. After a contested hearing on February 4,
      2020, CABRERA was released on pretrial conditions pending trial. Since
      that date, CABRERA has met all the terms of that release in exemplary
      fashion, and there have been no changes in his status since his release
      with perfect compliance.
      There have been no allegations of him threatening or using violence
      against any person. He has made all appearances as ordered. CABRERA
      has lived in the North Texas all of his life. He has strong family ties to
      the community and has had steady employment while on pretrial
      release, and is supporting his girlfriend and her children. CABRERA is
      currently healthy and incarceration increases his risk of contracting
      COVID 19 due to being enclosed indoors and in close proximity to others
      versus continued pretrial release.
      CABRERA has admitted guilt and taken responsibility for his conduct.
      He is prepared to accept the judgment of the District Court. He has
      conferred with Counsel which has advised him of the consequences of



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      his plea of guilty and has reviewed the relevant sentencing guidelines.
      Although we do not have a guideline calculation from the United States
      Probation as the Presentence Report has not been done at this time,
      CABRERA is aware of a potential lengthy prison sentence in this case.
      Taking all of these factors into consideration, the Court should find that
      CABRERA is not likely to flee or pose a danger to any person or the
      community, and that these are exceptional circumstances that compel
      his continue pretrial release.
Dkt. No. 49 at 1-3.


      The issue of Defendant=s presentencing release therefore turns on whether Ait

is clearly shown that there are exceptional reasons why [Defendant=s] detention

[pending sentencing] would not be appropriate.@ 18 U.S.C. ' 3145(c).


      The United States Court of Appeals for the Fifth Circuit has explained that the

Aexceptional reasons@ provision Awas added to ' 3145(c) with the mandatory detention

provisions of ' 3143(a)(2) and (b)(2) and was apparently designed to provide an

avenue for exceptional discretionary relief from those provisions.@ Carr, 947 F.2d at

1240. The United States Court of Appeals for the Second Circuit offers a working

definition of Aexceptional reasons@: Aa unique combination of circumstances giving rise

to situations that are out of the ordinary.@ United States v. DiSomma, 951 F.2d 494,

497 (2d Cir. 1991). That court also explained that, in assessing reasons proffered as

the basis for release under Section 3145(c), Aa case by case evaluation is essential.@

Id. The United States Court of Appeals for the Eighth Circuit has similarly explained

that A>exceptional= means >clearly out of the ordinary, uncommon, or rare.=@ United

States v. Little, 485 F.3d 1210, 1211 (8th Cir. 2007) (citation omitted). One court has


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explained that, Ato avoid emasculating the mandatory detention statute[,]

>exceptional reasons review is limited to determining whether remanding the

defendant to custody until sentencing would be tantamount to subjecting individuals

to unjust detention.=@ United States v. Thomas, No. 10-cr-229, 2010 WL 3323805, at

*2 (D.N.J. Aug. 20, 2010) (quoting United States v. Christman, 712 F. Supp. 2d 651,

655 (E.D. Ky. 2010)).


      District courts in this circuit have noted a variety of circumstances that do not

rise to the level of exceptional. See United States v. Cyrus, No. 10-0228-04, 2010 WL

5437247, at *1-*2 (W.D. La. Dec. 27, 2010) (need to Asecure his home and attend to

other personal matters@ were not exceptional reasons justifying release pending

sentencing); United States v. Douglas, 824 F. Supp. 98, 99-100 (N.D. Tex. 1993)

(defendant=s cooperation with the government that subjected him to potential

retaliation by co-defendants and his attempts at rehabilitation did not constitute

exceptional reasons); United States v. Dempsey, No. 91-098, 1991 WL 255382, at *1-*2

(E.D. La. Nov. 19, 1991) (poor health, emotional and mental problems, and need to

properly prepare his business and his family for his long absence were not exceptional

circumstances); United States v. Scott, No. 1:95-CR-80-1, 1995 WL 723752, at *1-*2

(E.D. Tex. Nov. 22, 1995) (need to assist parent was a purely personal reason that

was no more exceptional than those routinely rejected by courts); see also United

States v. Landry, No. CR 15-32-JWD-SCR, 2015 WL 5202458, at *2-*4 (M.D. La. Sept.

4, 2015); United States v. Posada, 109 F. Supp. 3d 911, 912-16 (W.D. Tex. 2015).


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      The facts that Defendant urges the Court to consider, including his compliance

with his conditions of pretrial release and his steady employment and caring for his

girlfriend and her children, are certainly commendable. But the Court determines –

as have many other courts when presented with similar arguments for presentencing

release – that Defendant=s proffered reasons for continuing his release do not

individually give rise to a situation that is out of the ordinary. And the Court

determines that all of the circumstances that Defendant asserts are not, taken

together at this point in time, a unique combination of circumstances giving rise to a

situation that is out of the ordinary that amount to a situation in which Defendant’s

detention pending his sentencing hearing would not be appropriate.


                                    Conclusion


      Accordingly, the Court finds that it has not been clearly shown that there are

exceptional circumstances under 18 U.S.C. ' 3145(c) why Defendant Hector Pablo

Cabrera should not be detained under 18 U.S.C. ' 3143(a)(2), and so Defendant will

be detained pending sentencing.


      It is therefore ORDERED that Defendant Hector Pablo Cabrera be committed

to the custody of the Attorney General and United States Marshal for further

proceedings.


      It is ORDERED that Defendant Hector Pablo Cabrera, while being so held, be

afforded reasonable opportunity for private consultation with counsel.


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    SO ORDERED.

    DATED: December 2, 2021




                                     DAVID L. HORAN
                                     UNITED STATES MAGISTRATE JUDGE




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